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                           DISTRICT COURT OF THE VIRGIN ISLANDS
                            DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
                      v.                        )       Case No. 3:08-cr-0005
                                                )
NEAL SPRAUVE,                                   )
                                                )
                      Defendant.                )
                                                )

                               FINAL ORDER OF FORFEITURE
       WHEREAS, on October 3, 2008, the defendant, Neal Sprauve, pled guilty to one
count of possession with intent to distribute cocaine base in violation of 21 U.S.C.
§ 841(a)(1) and (b)(1)(A)(iii); and
       WHEREAS, on September 11, 2012, this Court entered an Order, ordering defendant
Neal Sprauve to forfeit to the United States the following property:
       the real property described as 129A-1-44 Anna’s Retreat, St. Thomas, Virgin
       Islands; all property constituting, or derived from, the proceeds the
       defendant obtained directly or indirectly as a result of the violations alleged
       in the indictment; and all property used or intended to be used by the
       defendant in any manner or part to commit or to facilitate the commission of
       such violations;
       WHEREAS, the United States caused to be published on an official government
internet site (www.forfeiture.gov), notice of this forfeiture and of the intent of the United
States to dispose of the property in accordance with the law, and further notifying all third
parties of their right to petition the Court within (60) days for a hearing to adjudicate the
validity of their alleged legal interest in the property; and
       WHEREAS, no timely claim has been filed; and
       WHEREAS, the Court finds that defendant Neal Sprauve had an interest in the
property described above and that it is subject to forfeiture pursuant to 21 U.S.C. § 853;
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        NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
following property is condemned and forfeited to the United States of America, pursuant to
21 U.S.C. § 853:
        $10,000 in United States Currency in lieu of the real property described as
        129A-1-44 Anna’s Retreat, St. Thomas, Virgin Islands;
        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right, title, and
interest to the property described above is hereby condemned, forfeited, and vested in the
United States of America, and shall be disposed of according to law; and
        IT IS FURTHER ORDERED that the District Court of the Virgin Islands shall retain
jurisdiction in the case for the purpose of enforcing this Order.




Dated: October 21, 2020                            /s/ Robert A. Molloy
                                                   ROBERT A. MOLLOY
                                                   District Judge
